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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                     )       Criminal No. 18-40021-TSH
                                             )
       v.                                    )
                                             )
JERSSON CASTILLO,                            )
                                             )
       Defendant                             )
                                             )

                                        INFORMATION

       Pursuant to Title 21, United States Code, Section 851, the United States files this

Information giving notice that at the sentencing of defendant Jersson Castillo, the United States

will seek increased punishment by reason of the following criminal conviction:

       Jurisdiction:   Queens County, New York Supreme Court
       Docket No.:     N10562-2009
       Offense:        Criminal Possession of a Controlled Substance – Third: Narcotic Drug
                       Intent to Sell
       Date:           October 6, 2009


                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney

                                      By:    /s/ Katherine Ferguson
                                             Katherine Ferguson
                                             Assistant U.S. Attorney

Dated: May 16, 2018
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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of this Information will be served through the
Electronic Case Files (ECF) system to all registered participants.


                                                     /s/ Katherine Ferguson
                                                     Katherine Ferguson
                                                     Assistant U.S. Attorney

Dated:   May 16, 2018
